Case 2:21-cv-08891-SDW-MF Document 15 Filed 05/12/21 Page 1 of 1 PageID: 56




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 BRYAN ANDERSON                                              )   Case No. 2:21-cv-08891
                                                             )
                         Plaintiff,                          )
                                                             )
                 vs.                                         )
                                                             )
 CANTEL MEDICAL CORP., CHARLES M.                            )
 DIKER, GEROGE L. FOTIADES, ALAN R.                          )
 BATKIN, ANN E. BERMAN, MARK N.                              )
 DIKER, ANTHONY B. EVNIN, LAURA                              )
 FORESE, RONNIE MYERS, PETER                                 )
 PRONOVOST, and KAREN N. PRANGE,                             )
                                                             )
                         Defendants.                         )
                                                             )

                           NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Bryan Anderson (“Plaintiff”) voluntarily dismisses the claims in the captioned action (the

“Action”). Because this notice of dismissal is being filed with the Court before service by

defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal of the

Action is effective upon the filing of this notice.

 Dated: May 11, 2021                                      WEISSLAW LLP

                                                          By: /s/ Mark D. Smilow
                                                              Mark D. Smilow
                                                              Richard A. Acocelli (to be admitted pro
                                                              hac vice)
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